           Case 1:22-cv-11421-ADB Document 89 Filed 12/09/22 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                                               for the
                                   District of Massachusetts


 JOSE MARIA DECASTRO, an individual                 ) Case No. 1:22-cv-11421
                                                    )
 Plaintiff,                                         )
                                                    )
 v.                                                 )
                                                    )
 JOSHUA ABRAMS, an individual, et al.,              )
                                                    )
 Defendants.                                        )
 ____________________________________

      PLAINTIFF’S MOTION FOR LEAVE TO FILE REPLY AND UNDER SEAL; OR

                                 ALTERNATIVELY TO STRIKE

       Plaintiff Jose DeCastro (“Plaintiff” or “I”), hereby moves this Court to allow him to file a

reply to Defendant Katherine Peter’s (“Peter”) Opposition (ECF No. 71) to my Motion for

Contempt (ECF No. 61), and to file that reply under seal. Alternatively, to strike the portions of

Peter’s Opposition that were not restricted to rebutting my Motion for Contempt.

       The parties have not yet agreed on a briefing schedule which would disallow a reply and

Peter alleges new facts and introduces new arguments irrelevant to my motion. Her reply was

meant to harass and delay this proceeding. I would like an opportunity to reply to the alleged

new facts and argument on the record. I am asking to file under seal because publicly speaking of

harassment from Defendant Peter’s troll farm seems to excite the trolls to initiating more

harassment, and this reply is not substantially necessary to the public’s right of judicial records

related to this proceeding.

                                          DECLARATION

       I declare under penalty of perjury, that the foregoing is true and correct.
          Case 1:22-cv-11421-ADB Document 89 Filed 12/09/22 Page 2 of 2




                CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(2)


     The court has waived this local rule for the remainder of this action.


Dated: December 9, 2022                            Respectfully submitted,

                                                   /s/ Jose DeCastro
                                                   Jose DeCastro
                                                   1258 Franklin St.
                                                   Santa Monica, CA 90404
                                                   chille@situationcreator.com
                                                   (310) 963-2445
                                                   Pro Se


                                 CERTIFICATE OF SERVICE

      I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing.

                                                   /s/ Jose DeCastro




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